               Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 1 of 20


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         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
                                OF PENNSYLVANIA


     RHONDA FREEMAN,

                     Plaintiff,                        CIVIL ACTION
                                                       CASE NO.    J     9                     410S
               vs.

     CITY OF PHILADELPHIA,
     PHILADELPHIA POLICE,
     PHILADELPHIA FIRE DEPARTMENT,                                            5::: f,
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                     Defendants.


                                          CIVIL ACTION


     On November 14, 2017 Rhonda Freeman (herein after referred to as the
     "Plaintiff") called 911 after receiving contaminated envelopes with the name
     Alberina Driza handwritten on them that caused the Plaintiff dizziness,
     headaches, and shortness of breath. One of the envelopes were handwritten
     and addressed to the Plaintiff with no return address. One of the
     contaminated envelopes handwritten and addressed to the Plaintiff also had
     her name and address misspelled. When the Philadelphia Police officer
     arrived (herein after referred to as the "Defendant") the Plaintiff told him the
     health challenges she was having due to the contaminated envelopes, and the
     hacker she caught eavesdropping on her when she called LIHEAP on 11/8/17
         and 11/9 /17 who pretended to work for LIHEAP and lied by saying that he
         was assigned to her LIHEAP application and that he was processing the
         Plaintiffs application, but when the Pla:ntiff called LIHEAP's direct ?




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      Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 2 of 20




phone number they said the Plaintiff's application is still being processed
and was never assigned to anybody as of 11/8/17. When the Plaintiff called
LIHEAP's main number back again on 11/9 /17, LIHEAP said the same thing,
that the Plaintiff's application is still being processed and has not been
assigned to anybody. Even after the Plaintiff told the officer the health
problems she was having from the envelopes and that she also caught a
hacker eavesdropping on her both times she called LIHEAP on 11/8/17
and 11/9 /17, the officer still refused to take them from her property at
5920 Lawndale Street to be tested. This incident with the defendant is
video recorded, and the police report number is 2017-02-064390.


The Plaintiff did not receive any help from the Philadelphia Police until 129
days later on March 23, 2018 when the police sergeant supervising officer
removed the bag of contaminated envelopes from the Plaintiff's home. This
resulted in the Plaintiff being poisoned by biological substances from
whatever was inside the contaminated envelopes after having bloodwork
done at Einstein Medical Center. The police report number for this incident is
2018-02-014336.


The Plaintiff also called 911 again on November 16, 2017 and this time the fire
department (herein after will be referred to as the "Defendant") came out.
When the Philadelphia Fire Department arrived at the Plaintiff's home, one of
the firefighters was holding a note folded in his hand. The firefighter that was
holding the note folded in his hand also handed is HAZMAT device to the other
firefighter that was standing next to him and the contaminated envelopes
were never tested. So the contaminated envelopes were never tested on
November 16, 2017 either. This incident is also video recorded.
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      Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 3 of 20




On January 29, 2018 around 1:30 p.m. in the afternoon at the house across the
street from the Plaintiffs home, at 5921 Lawndale Street an African American
male was brought out the house by Fire Department paramedics on a
stretcher, and it looked like the guy was unconscious on the stretcher. The
Fire Department's paramedics vehicle that he was put in had no lights on and
it was parked in front of the home that he was brought out of on the stretcher.
As the Plaintiff continued looking out of her bedroom window, none of the
neighbor's vehicles were parked along the sidewalk except for a black sedan
that was parked between the front of the Plaintiffs home and her neighbor's
home at 5918 Lawndale Street. The paramedics vehicle was parked in the
middle of the street in front of 5921 Lawndale Street with no lights on for over
25 minutes, and there were two paramedics who took the guy inside the
paramedics vehicle on the stretcher and there were also approximately 5-6
other paramedics standing together talking outside on the steps of 5921
Lawndale Street. While the paramedics were standing outside together
talking, there was also a guy wearing an all brown jacket with yellow writing
at the top of the jacket across the back of it in all capital letters who ran from
Comly Street over to the paramedics that were talking, and the guy with the
brown jacket with yellow capital letters across the back of it talked to the
paramedics for a few moments and then ran back towards Comly Street. A few
moments later two guys in black uniforms walked over from Van Kirk Street
together and talked to the paramedics for a few moments as the paramedics
were still standing outside, and then both guys walked back towards Van Kirk
Street. Approximately 5 minutes later the fire department paramedics vehicle
finally pulled off. After the paramedics vehicle pulled off, a dark brown SUV
parked in the middle of the street in the same area where the paramedics
vehicle was parked, and two guys got out the brown vehicle and left the SUV
parked for hours in the middle of the street until approximately 10:00 p.m.
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      Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 4 of 20




and no other vehicles could get pass. This incident may also be linked to the
contaminated envelopes the Plaintiff received with the name Alberina Driza
handwritten on them and the one also handwritten addressed to the Plaintiff
with no return address, and the other contaminated envelope handwritten
and addressed to the Plaintiff with her name and address misspelled. The
Plaintiff does not have the Fire/EMS Report from the City for this incident.


Also on the City Of Philadelphia's website phila.gov, cases with the name Driza
in it were removed from the City's website. The Civil Docket search results for
cases with the terrorist name Driza originally showed 22 search results which
also included the case that was filed by the terrorist against the Plaintiff, but
now the search results are only showing 4 cases and the case that was filed by
the terrorist against the Plaintiff doesn't show up at all in the search results.
Somebody at City Hall is overwriting the old layout of the phila.gov website to
cover up what happened by combing cases with the name Driza off the City's
website.
                   RELIEF REQUESTED FROM THE COURT

Compensatory Damages & Punitive Damages

Compensatory damages is compensation from what the defendants actually
did, and the defendants which are the Philadelphia Police and the Philadelphia
Fire Department both failed to test any of the envelopes that led to the
Plaintiff being poisoned by biological substances.

Punitive damages is compensation from the defendants careless negligent
behavior to stop it from happening again. On November 14, 2017 the Plaintiff
took the contaminated envelopes that were addressed to her at her home
outside to try to make it easier to get help from the Philadelphia Police officer,
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      Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 5 of 20




and even told him about her health changes and the eavesdropping she caught
and he still refused to remove them from her property to have them tested.
The same problem happened again two days later on November 16, 2017
when the Philadelphia Fire Department came out to the Plaintiff's home when
she took the bag of contaminated envelopes outside again to try to make it
easier to get help and they didn't test any of the envelopes either. To make
matters worse, the firefighter also handed his HAZMAT device to the other
firefighter instead of testing any of the envelopes. This caused the Plaintiff to
be directly exposed to whatever biological substances were in the envelopes
and direct exposure lasted for over 100 days, until March 23, 2018 when the
Sergeant, a supervisor from the Philadelphia Police, finally removed the bag of
contaminated envelopes from the basement inside the Plaintiff's home. The
behavior of both defendants is beyond careless and negligent.


There is a preponderance of evidence that shows that both defendants are
responsible for the pain that the Plaintiff has suffered. The Plaintiff is
requesting compensatory damages due to bioterrorism in the amount of
$25,000,000, and punitive damages in the amount of $75,000,000 due to
careless and negligent behavior that caused the Plaintiff to have to survive a
bioterrorism attack.




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Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 6 of 20




                 EXHIBIT A
Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 7 of 20
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                  EXHIBIT B
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                                                            pennsylvania  •
                                                        DEPARTMENT OF HUMAN SERVlCES
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    RHONDA A FREEMAN
    6003 ALGON A VE                                                                              .· .,,.:
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    PHILADELPHIA, PA 19111-6104
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                                                                                                            MEDICAL SERVICES QUESTIONNAIRE

                                                                                                            CIS #: 080002066
                                                                                                            Case#: 51 4214919

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                      FAILURE TO FILL OUT AND RETURN THIS FORM WITHIN 15 DAYS
                                     MAY AFFECT YOUR BENEFITS
 Diagnosis: POISONING BY OTHER DRUGS, MEDICAMENTS AND BIOLOGICAL SUBSTANCES, ACCIDENTAL
(UNINTENTIONAL), INITIAL ENCOUNTER

        POISONING BY OTHER DRUGS, MEDICAMENTS AND BIOLOGICAL SUBSTANCES, ACCIDENTAL
(UNINTENTIONAL), INITIAL ENCOUNTER

    Procedure: COMPREHENSI'v'RE
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Medical Assistance paid bills for RHONDA A FREEMAN to ALBERT EINSTEIN MEDICAL CENTER for
service on 10/31/2018.
We need to know if another insurance company or person should have paid these bills. To find out, we need
you to fill out this form and return it in the enclosed envelope.
Please check the reason for the visit:                                                     .
    Motor Vehicle (includes car, bus, truck, van, motorcycle, A TV or other type of vehicle)
_     Slip and/or Fall
_     Medical Malpractice
      Burn
      Animal Bite
                                                                      -
_     Attack by Another Person - Name of attacker: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       District Attorney information: _ _ _ _ _ _ _ _ _ _ _ _ _ Docket number: _ _ _ _ __
_     Work Injury - Name of employer: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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If an attorney is involved, please provide any of the following information if you know it:




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Attorney Telephone Number: - - - - - - - - - - - - - - Fax Number: - - - - - - - - - - - - -


If an insurance company is involved (including Workers Comp Carrier), please provide any of the
following information if you know it:
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Policy Holder Name:
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Claim Office Telephone Number: _ _ _ _ _-.-_-_·--_· _ _ _ _ Fax Number: _ _ _ _._~_'"" _ _ _ _ __


Please explain how accident, injury or illness happened:




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     Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 15 of 20




                         EXHIBIT C
Exhibit C is the video recorded by the Plaintiff when the defendant arrived on
November 14, 2017 that shows even after the Plaintiff told the officer the
health problems she was having from the envelopes and that she also caught
a hacker eavesdropping on her both times she called LIHEAP on 11/8/17
and 11/9 /17, the officer still refused to take them from her property at
5920 Lawndale Street to be tested. The police report number for this
incident is 2017-02-064390.
    Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 16 of 20




                          EXHIBIT D
Exhibit D is the video recorded by the Plaintiff when the d~fendant arrived on
November 16, 2017 that shows one of the firefighters was holding a note
folded in his hand after arriving at the Plaintiff's home. The firefighter in the
video that was holding the note folded in his hand also handed is HAZMAT
device to the other firefighter that was standing next to him; this is in the
video as well. So the contaminated envelopes were never tested on November

16, 2017 either.
    Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 17 of 20




                       EXHIBIT E




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    Case 2:19-cv-04105-JDW Document 1 Filed 09/09/19 Page 20 of 20




                          CERTIFICATE OF SERVICE

I, Rhonda Freeman, do hereby certify that a true and correct copy of the
foregoing Civil Action has been served upon the defendants CITY OF
PHILADELPHIA, PHILADELPHIA POLICE and PHILADELPHIA FIRE
 DEPARTMENT by placing the same in the U.S. priority mail, properly
addressed, on September 9, 2019.


                  City Of Philadelphia
                  1515 Arch St.
                  17th Floor
                  Philadelphia, PA 19102

                   Philadelphia Police Department Headquarters
                   750 Race Street
                   Philadelphia, PA 19106

                   Philadelphia Fire Commissioners Office
                   240 Spring Garden Street
                   Philadelphia, PA 19123




  ~ ;ptfln.!kv
 Rhonda Freeman
